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9
                               UNITED STATES DISTRICT COURT
10                            CENTRAL DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA,                    Case No. CR 17-00661(A)-DMG
13               Plaintiff,                       [Assigned to Hon. Dolly M. Gee, District
                                                  Court Judge]
14        vs.
                                                  DEFENDANTS JULIAN OMIDI’S
15   JULIAN OMIDI, INDEPENDENT
     MEDICAL SERVICES INC., a                     MOTION TO COMPEL
16   professional corporation, SURGERY            DISCOVERY AND TO HOLD
     CENTER MANAGEMENT, LLC, and                  EVIDENTIARY HEARING
17   MIRALI ZARABI, M.D.,
                                                  Hearing:      March 23, 2022 at 2:30 PM
18               Defendants.                      Dept.:        Courtroom 8C
                                                  Location:     350 West 1st Street,
19                                                              8th Floor
                                                                Los Angeles, CA 90012
20
21                                                Oral Argument Requested

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 1          TO THE HONORABLE COURT, ALL PARTIES AND THEIR
 2 ATTORNEYS OF RECORD HEREIN:
 3          PLEASE TAKE NOTICE that, on March 23, 2022 at 2:30 PM, or, as soon as this
 4 matter may be heard in Courtroom 8C, of this Court, located at 350 West 1st Street, 8th
 5 Floor, Los Angeles, California, 90012, Defendant Julian Omidi, by and through counsel of
 6 record, will move and does hereby move this Court for an order compelling discovery and
 7 to hold an evidentiary hearing.
 8          Mr. Omidi’s counsel met and conferred with the government regarding the relief
 9 requested herein, and the parties were unable to come to a resolution.
10          This Motion is based on this Notice of Motion and Motion, the attached
11 Memorandum of Points and Authorities in support of this Motion, the accompanying
12 Declaration of Michael S. Schachter and attached exhibits, all matters which the Court
13 may judicially notice, and the documents and pleadings previously filed with this Court.
14
            Dated: February 22, 2022            Respectfully submitted,
15
16
                                                WILLKIE FARR & GALLAGHER LLP
17
18                                              By: s/ Michael S. Schachter
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                                                    ATTORNEYS FOR DEFENDANT
22                                                  JULIAN OMIDI
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 1 I.      INTRODUCTION
 2         The government’s case rested significantly on the credibility of its principal witness,
 3 Charles Klasky, and his contention that he falsified sleep study data at the direction of
 4 Defendant Julian Omidi. At trial, the government elicited testimony from Mr. Klasky that
 5 Mr. Omidi, through Brian Oxman, tried to silence Mr. Klasky and thereby conceal the fraud.
 6 (Tr. at 4974-77; 8927: 2-14.) Specifically, according to Mr. Klasky, Mr. Oxman, while with
 7 Mr. Omidi, called Mr. Klasky shortly before his first scheduled meeting with the
 8 government and said that if Mr. Klasky attended this interview he would be putting a “gun
 9 to [his] head.” (Id.) In the final minutes of its rebuttal argument to the jury, the government
10 emphasized this inflammatory testimony and drove home how it demonstrated Mr. Omidi’s
11 knowledge of the fraud and efforts to conceal it. (Tr. at 8927:2-14).
12         The government did so notwithstanding conclusive evidence to rebut that this phone
13 call ever occurred as repeatedly represented by Mr. Klaksy. For on the first day of his
14 proffer interview with the government, Mr. Klasky related that he received this phone call
15 (the “‘Gun to Your Head’ Call”) from Mr. Oxman earlier that very same morning.
16 However, when the Government researched Mr. Klasky’s call history for the morning of
17 May 24, 2016 (the date of the first proffer meeting), it found that Mr. Klasky had received
18 phone calls from only two individuals—neither of whom was Mr. Oxman or Mr. Omidi.
19         This discovery should have given the government pause as to not only the truth of
20 Mr. Klaksy’s tale of obstruction, but as to his reliability as a witness in general.
21 Furthermore, the fact that the “Gun to Your Head” Call could not have transpired as twice
22 told by Mr. Klasky placed the government under a legal duty to investigate further and to
23 specifically disclose the falsehood to the defense. Instead, based in part upon evidence
24 obtained only after the trial, it appears that the government manipulated Mr. Klasky’s
25 testimony at trial and sidestepped the compelling reason to doubt it with a leading question
26 as to whether Mr. Klasky received “a call before that meeting,” all the while concealing
27 evidence that the government obtained confirming the falsity of Mr. Klasky’s accusation.
28         After informal efforts to obtain full discovery of the documents at issue, Mr. Omidi

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 1 now seeks an order of this Court requiring the government produce all of its documents,
 2 including internal communications, regarding Mr. Klasky’s testimony as to this alleged call
 3 and his credibility; an order requiring the government to preserve all of its communications,
 4 notes of interview, and other memoranda regarding Mr. Klasky; and for an evidentiary
 5 hearing.
 6 II.      FACTUAL AND PROCEDURAL BACKGROUND
 7          Post-verdict, Mr. Omidi assumes the Court’s familiarity with the case and sets forth
 8 below the factual background relevant to this motion.
 9          A.     Charles Klasky’s False Claim At His May 24, 2016 Proffer
10          Government cooperator Charles Klasky pled guilty to healthcare fraud and was the
11 government’s key witness at trial. Mr. Klasky began cooperating with the government after
12 government agents searched his home on March 24, 2016. (Tr. at 4974:4-11.)
13          On May 24, 2016 at 10:00 am, Mr. Klasky met with government agents and
14 prosecutors for his first proffer interview. During that interview, Mr. Klasky reported to the
15 government that earlier that same morning of May 24, he saw Mr. Omidi and Mr. Oxman
16 in a car together, and ten minutes later received a phone call from Mr. Oxman. Mr. Klasky
17 claimed that during that call, Mr. Oxman sought to silence Mr. Klasky by telling him that
18 attending his scheduled interview with the government would be akin to “putting a gun to
19 your head,” and further telling him “to keep his mouth shut, and to not tell the truth or his
20 (KLASKY's) life would be over.” (Ex. 2 at GT_ REPORTS_ 00097367-68.) Mr. Klasky
21 claimed that, although he did not hear Mr. Omidi speak during the phone call, Mr. Klasky
22 “was certain” that Mr. Omidi was present with Mr. Oxman. (Id.)
23          On May 25, 2016, the day after Mr. Klasky made this claim, the government sent a
24 subpoena to Verizon, seeking Mr. Klasky’s phone records from 2016. (Ex. 3.) The records
25 that Verizon produced to the government show that, on the morning of May 24, 2016—
26 when Mr. Klasky reported and claimed the “Gun to Your Head” Call occurred—Mr. Klasky
27 received phone calls from only two phone numbers: (818)                     (the “818 Number”)
28 and (310)               (the “310 Number”). (Ex. 5.) These subpoenaed phone records did not

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 1 identify the subscribers for these numbers. The government was aware at the time that a
 2 different number, (562)                (the “562 Number”), was associated with Mr. Oxman,
 3 and that Mr. Klasky had received calls from this number on dates other than May 24, 2016.
 4 (See Ex. 1 at 8; Ex. 4.) Mr. Klasky’s subpoenaed phone records do not, however, indicate
 5 that Mr. Klasky received any calls from the 562 Number on the morning of May 24, 2016.
 6 (Ex. 5.)
 7         The government conducted an investigation of the subpoenaed call records, and on
 8 January 13, 2017 FDA Special Agent Samanta Kelley prepared and circulated to members
 9 of the prosecution team, including AUSA Kristen Williams, FBI Agent Mark Coleman, and
10 FDA Special Agent Zeva Pettigrew, a detailed spreadsheet (the “Kelley Spreadsheet”)
11 indicating the results of government investigation to determine the identities people who
12 called Mr. Klasky on May 24, 2016. (Exs. 6-8.) To create this spreadsheet, Special Agent
13 Kelley relied on law enforcement TLOxp search reports (which the government performed
14 in November 2016) to determine the subscribers for the only two phone numbers from
15 which Mr. Klasky received calls on the morning of May 24, 2016: the 310 Number and the
16 818 Number (Exs. 9-10, the “November 2016 TLOxp Reports”).
17         The November 2016 TLOxp Reports show that the most likely identity of the
18 subscriber for the 310 Number was Cheryl Ann Nichols (or, spelled alternatively, Cheryl
19 Ann Nickers or Sheryl Ann Nichols). (Ex. 9.) The November 2016 TLOxp Reports show
20 that the most likely identity of the subscriber for the 818 Number was either Sevan or Vegen
21 Shahnazari. (Ex. 10.) The government’s search for the 818 Number also revealed, however,
22 that the next most likely identity for the subscriber was Richard A. Moss, which is the name
23 of Mr. Klasky’s attorney in connection with this matter. (Id.) Mr. Moss was present at Mr.
24 Klasky’s May 24, 2016 proffer interview with the government. (Ex. 2.)
25         In other words, the November 2016 TLOxp Reports enabled the government to
26 conclude, as reflected in the Kelley Spreadsheet, that Mr. Klasky received calls from Cheryl
27 Nichols and Sevan Shahnazari (or, possibly, his attorney, Richard Moss) on the morning of
28 May 24, 2016, but not from Mr. Oxman, as Mr. Klasky had reported. Neither the Kelley

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 1 Spreadsheet nor either of the November 2016 TLOxp Reports was produced to the defense
 2 prior to trial. (See Ex. 1.)
 3         B.     The Government Confronted Mr. Klasky, Who Then Altered His Story
 4         On August 14, 2017, two days prior to his Grand Jury testimony on August 16, 2017,
 5 Mr. Klasky, accompanied by his counsel, participated in an interview with members of the
 6 prosecution team, including Special Agents Kelley and Pettigrew, Agent Coleman, and
 7 AUSA Williams. The government asked Mr. Klasky about the “Gun to Your Head” Call.
 8 (Ex. 11 at GT_REPORTS_00104958 (“KW Discussing re If you go to this meeting you
 9 might as well put a gun to your head.”).) According to the notes, Mr. Klasky then told the
10 government that Mr. Oxman “always call[s] [Mr. Klasky] on his cell phone.” (Id.) The
11 notes reflect that Mr. Klasky was specifically asked about a call from Mr. Oxman “the
12 evening before” his May 24 proffer (as reflected in the Verizon phone records) and that Mr.
13 Klasky insisted, once again, that the “‘gun to your head’ call was in the morning” of May
14 24, “right before [the] 10 AM meet[ing].” (Id. (emphasis added).)
15         The notes from that meeting indicate that the government provided Mr. Klasky his
16 Verizon phone records to review, and he attempted to suggest that the 310 Number (which
17 the government knew to be associated with Cheryl Nichols) may have been associated with
18 Mr. Oxman. Mr. Klasky stated that Mr. Oxman “came from Santa Ana” (the location
19 apparently associated with the 310 Number) and that Mr. Oxman “also has a (310) number.”
20 (Id.) The government’s notes of the meeting include phonetic spellings of the names that
21 the government had discovered actually were associated with those numbers—Cheryl
22 Nichols (spelled “Sharon Knicka”) and Sevan Shahnazari (spelled “Savanazari”). (Id.)
23 According to the notes, Mr. Klasky said he had no recollection of these names, but that he
24 “knows someone named Savan.” (Id.) Neither Mr. Klasky nor his counsel (and Mr. Moss’s
25 colleague), William Fleming, mentioned that the 818 Number could belong to Mr. Moss,
26 and the government did not ask Mr. Klasky whether the 818 Number belonged to Mr. Moss.
27 The government never investigated further who Cheryl Nichols and Vegan (or Sevan)
28 Shahnazari were, or what relationship Mr. Klasky had with them. (Schachter Decl. ¶ 8.)

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 1         Two days after this meeting, Mr. Klasky testified before the Grand Jury on August
 2 16, 2017. During this appearance, the government elicited testimony from him regarding
 3 the “Gun to Your Head” Call. (Ex. 12.) Mr. Klasky again claimed that on this call Mr.
 4 Oxman told Mr. Klasky, “You might as well … put a gun to your head and shoot yourself,
 5 kill yourself.” (Id. at 165.) However, Mr. Klasky claimed, for the first time, that the “Gun
 6 to Your Head” Call occurred “late afternoon” the day before his May 24 proffer interview
 7 and further changed his story to represent that Mr. Klasky could hear Mr. Omidi speaking
 8 in the background of the phone call. (Id. at 164-165.) Notably, Mr. Klasky’s Verizon
 9 records do not indicate that he received a phone call from Mr. Oxman during the late
10 afternoon of May 23, 2016. (Ex. 4.) The government did not confront Mr. Klasky with his
11 inconsistent statement during his grand jury testimony, and the government never spoke to
12 Mr. Klasky or his counsel subsequently about this sudden change in his story. (Schachter
13 Decl. ¶ 9.)
14         C.     Mr. Klasky’s Trial Testimony
15         Mr. Klasky’s trial testimony lasted ten days. He was, without question, the trial’s
16 most important witness, as he was the only witness who testified to having any personal
17 knowledge of Julian Omidi’s involvement in the falsification of sleep study results. In short,
18 Mr. Klasky’s account of his time at Weight Loss Centers and, by extension, his credibility,
19 were critical to the government’s case against Mr. Omidi.
20         Prior to Mr. Klasky’s testimony, Mr. Omidi’s counsel raised concerns regarding the
21 government potentially eliciting testimony that Mr. Oxman had appeared at Mr. Klasky’s
22 CJA counsel’s office, as Mr. Klasky had claimed during his grand jury testimony. The
23 government agreed not to elicit this testimony. (Tr. at 4980-81.) The government did not
24 indicate during those discussions that it would elicit testimony regarding the “Gun to Your
25 Head” Call. (Schachter Decl. ¶ 10.)
26         At trial, the government elicited testimony from Mr. Klasky regarding the purported
27 “Gun to Your Head” Call by asking him, in leading fashion, whether he received a phone
28 call from Mr. Oxman “before the meeting” Mr. Klasky had with the government on May

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1 24, 2016. (Tr. at 4974-4977.) The government elicited this testimony notwithstanding its
2 own investigation showing the event could not have transpired as reported by Mr. Klasky
3 during his May 24, 2016 proffer interview.
4          D.     The Government’s Reliance on the “Gun to Your Head” Call During
                  Closing Arguments
5
           The government made multiple references to the “Gun to Your Head” Call during
6
     closing arguments. First, during the government’s summation, the prosecutor reminded the
7
     jury that “[r]ight before Mr. Klasky was supposed to meet with the government in May of
8
     2016, you heard that Mr. Oxman told Mr. Klasky—or pressured Mr. Klasky not to go to
9
     that meeting.” (Tr. at 8659.) Later, during the government’s rebuttal, the prosecutor argued
10
     that “Julian Omidi made sure that the story of the fraud didn’t get out,” noting in support of
11
     this argument that “Brian Oxman tried to pressure Charles Klasky not to meet with the
12
     government.”    The prosecutor then displayed and read, verbatim, Mr. Klasky’s trial
13
     testimony regarding the “Gun to Your Head” Call. (Id. at 8926-27.)
14
           E.     Post-Trial Discussions Regarding the “Gun to Your Head” Call
15
           Since the trial ended, Mr. Omidi’s counsel has conferred with the government
16
     regarding its basis for presenting Mr. Klasky’s testimony regarding the “Gun to Your Head”
17
     Call, the extent of the government’s investigation into Mr. Klasky’s claims about this call,
18
     and the available evidence regarding the same.
19
           On December 23, 2021, a week after the conclusion of the trial, Mr. Omidi’s counsel
20
     sent an email regarding the government’s investigation into the “Gun to Your Head” Call.
21
     Mr. Omidi’s counsel pointed out that the references to names in the notes from the
22
     government’s August 14, 2017 interview of Mr. Klasky suggest that the government
23
     conducted some investigation into the calls Mr. Klasky received on the morning of March
24
     24, but that it was “unclear how the government came up with those names referenced in
25
     the notes.” (Ex. 1.) Mr. Omidi’s counsel requested the government “produce any records
26
     or reports relevant to the government’s effort to determine whether Brian Oxman, Julian
27
     Omidi or anyone associated with Mr. Omidi in fact called Klasky on the morning of his
28

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 1 proffer.” (Id.)
 2         AUSA Williams responded on behalf of the government on December 31, 2021. In
 3 her response, AUSA Williams stated that she did not “specifically recall what the 2017 notes
 4 you reference relate to, but can speculate they are associated with a Google search for the
 5 [818 Number], which returns results relating to individuals with the surname ‘Shahnazari.’”
 6 (Id.) She added that “[t]here is no outstanding discovery on this issue.” (Id.) In this initial
 7 response, the government made no mention of the government’s November 2016 TLOxp
 8 Reports, the investigative work reflected in the Kelley Spreadsheet, or that the government
 9 possessed evidence that the 818 Number may have belonged to Mr. Klasky’s counsel,
10 Richard Moss.
11         On January 3, 2022, Mr. Omidi’s counsel asked the government a number of follow-
12 up questions, including whether the government searched for records of the Google search
13 the government mentioned in its December 31 email and whether the government obtained
14 any information regarding the subscribers for the phone numbers that called Mr. Klasky the
15 morning before his May 24 proffer interview—i.e., for the 310 Number and the 818
16 Number. (Id.) The government responded to this January 3 email on January 13, 2022,
17 stating that the government “did not specifically investigate” whether the 310 Number
18 belonged to Mr. Oxman, but acknowledged that the government was aware that the 562
19 Number belonged to Mr. Oxman and that Mr. Oxman used that number to call Mr. Klasky
20 on multiple occasions. (Id.) The government further stated in its January 13 email that
21 “[t]here was no specific investigation at the time into” the 310 Number and that the
22 government did not “obtain the subscriber information for” either the 310 Number or the
23 818 Number. The government did note that, in response to the inquiry from Mr. Omidi’s
24 counsel, the government conducted a CPClear database search on January 12, 2022, which
25 the government stated showed that the 310 Number belongs to Cheryl Nichols and the 818
26 Number belongs to Vegan Shahnazari. (Id.) The government’s January 13 email again
27 made no mention of the November 2016 TLOxp Reports, the Kelley Spreadsheet, or the
28 government’s evidence tying the 310 Number to Mr. Klasky’s counsel.

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1           On January 18, 2022, Mr. Omidi’s counsel asked the government if it would
2 acknowledge that Mr. Oxman did not call Mr. Klasky the morning of May 24, 2016, in light
3 of the government’s stated knowledge that the 562 Number belongs to Mr. Oxman and the
4 CPClear search results associating the 310 Number and the 818 Number with Cheryl
5 Nichols and Vegan Shahnazari, respectively. (Id.) Mr. Omidi’s counsel also asked the
6 government how it became aware of the names associated with the 310 Number and the 818
7 Number in advance of August 14, 2017 interview with Mr. Klasky, given that the only
8 searches for this information that the government had disclosed to Mr. Omidi were the ones
9 performed on January 12, 2022. (Id.)
10          F.      The Government’s Late Disclosure of Brady Material And Refusal To
                    Produce Or Identify Additional Relevant Documents
11
            On January 25, 2022, after repeatedly maintaining that the government had not
12
     conducted any investigation of the calls Mr. Klasky received on May 24, 2016, the
13
     government disclosed, for the first time, the Kelley Spreadsheet, an email chain among the
14
     prosecution team regarding the same, and the November 2016 law enforcement TLOxd
15
     Reports. (Id.) When later asked to explain why these materials were never previously
16
     produced, the government responded that it does not know. (Schachter Decl. ¶ 7.) The
17
     government referred to the Kelley Spreadsheet as “agent work product” in an email, but it
18
     has not stated that the government identified and chose to withhold this document (or the
19
     November 2016 TLOxd Reports) on this or any other basis. (Ex. 1.)
20
            What is more, the government has refused to state whether it continues to withhold
21
     any additional documents relevant to the investigation.1 On a meet and confer call on
22
     February 7, 2022, the government would state only that it has not identified any additional
23
     relevant “discoverable” information. The government notably declined to specify whether
24
     it possesses any relevant materials that it does not consider to be “discoverable.” (Schachter
25
     Decl. ¶ 6.) The government also specifically stated that it would not provide a log of
26
27   1
      In a recent filing, the government represented that it has produced all “discoverable” information and
28   “complied with all of its discovery obligations,” (ECF No. 1654), but it is unclear whether the
     government is continuing to withhold additional evidence it claims not to be obligated to disclose.
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 1 everything in the government’s case file that is not discoverable. (Id.)
 2          During the parties’ February 7 meet and confer call, Mr. Omidi’s counsel asked the
 3 government to specify how the government attempted to search for and identify relevant
 4 documents responsive to Mr. Omidi’s recent requests. AUSA Williams stated that the
 5 government reviewed its case file, and, when pressed to more specifically explain what this
 6 review entailed—for example, whether email searches were performed on any of the
 7 members of the case team—she declined to do so. (Id.)
 8          The government had also refused to answer Mr. Omidi’s counsel’s repeated question
 9 as to whether the government believes that Mr. Klasky’s May 24, 2016 claim that he
10 received a call from Mr. Oxman earlier that morning was true, but took the position that the
11 government’s belief as to whether this statement was true is not “relevant.” (Id ¶ 5.) In a
12 recent filing, the government admitted that Mr. Klasky’s phone records do not support his
13 story that he received the call on the same morning of the proffer interview, as he first
14 reported hat same day. (ECF No. 1654.)
15 III.     THE COURT SHOULD COMPEL DISCOVERY
16          In his anticipated post-trial motion, Mr. Omidi intends to argue that the government
17 failed the fundamental requirement not to knowingly present false testimony under Mooney
18 v. Holohan, 294 U.S. 103 (1935), and Napue v. Illinois, 360 U.S. 264, 269 (1959), and to
19 specifically identify exculpatory and impeaching material pursuant to Brady v. Maryland,
20 373 U.S. 83 (1967), its progeny, including Giglio v. United States, 405 U.S. 150 (1972), and
21 this Court’s order that the government specifically identify known Brady material (ECF No.
22 1333). 2 The government also likely failed in its obligation to fully investigate Mr. Klasky’s
23 representations pursuant to the Ninth Circuit’s decision in Northern Mariana Islands v.
24 Bowie, 243 F.3d 1109 (9th Cir. 2001).
25
26   2
       The Court’s Order February 18, 2022 Order granting the extension to file post-trial motions makes a
27   reference to “the Ninth Circuit’s standard for evaluating a motion for a new trial based on newly
     discovered evidence.” ECF. 1657, citing United States v. Davis, 960 F.2d 820, 825 (9th Cir. 1992). Mr.
28   Omidi respectfully submits that Mr. Omidi’s intended motion for a new trial and to dismiss will implicate
     different standards, governed by the Supreme Court’s decisions in Brady and Napue.
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 1         The evidence already available to Mr. Omidi establishes a strong basis to dismiss the
 2 indictment or, at the very least, order a new trial, based on these violations, all of which
 3 caused Mr. Omidi significant prejudice at trial. However, the government’s current refusal
 4 to provide further discovery or even specify whether it is withholding any relevant
 5 documents and information prevents Mr. Omidi from fully developing his arguments in
 6 support of relief. Without further discovery, both Mr. Omidi and the Court will be deprived
 7 of the full context and understanding of the government’s conduct in this matter.
 8         A.     The Government Presented False And Misleading Testimony
 9         By eliciting and affirmatively relying upon Mr. Klasky’s testimony regarding the
10 “Gun to Your Head” Call despite the results of the government’s investigation into Mr.
11 Klasky’s claim, the government violated Mr. Omidi’s constitutional right to a fair trial. In
12 Mooney v. Holohan, the Supreme Court held that the due process requirement “cannot be
13 deemed to be satisfied” if the government “has contrived a conviction” by “depriving a
14 defendant of liberty through a deliberate deception of court and jury by the presentation of
15 testimony known to be perjured.” 294 U.S. at 112. The Court reaffirmed this principle in
16 Napue, where it held “that a conviction obtained through use of false evidence, known to
17 be such by representatives of the [government], must fall.” 360 U.S. at 269. A Napue claim
18 has three elements. “First, the testimony or evidence in question must have been false or
19 misleading.” Panah v. Chappell, 935 F.3d 657, 664 (9th Cir. 2019).             “Second, the
20 [government] must have known or should have known that it was false or misleading.” Id.
21 Third, “the testimony or evidence in question must be material.” Id.
22                1.     The Government Elicited False or Misleading Testimony
23         Mr. Klasky’s testimony was “actually false” pursuant to Mooney and Napue. During
24 his first proffer interview with the government on May 24, 2016, at 10:00 a.m., Mr. Klasky
25 reported to the government that earlier that same morning, he received the “Gun to the
26 Head” Call. But the information the government disclosed after trial clearly establishes that
27 Mr. Klasky’s May 24, 2016 report, which he reaffirmed on August 14, 2017, was false.
28         It merits emphasis that this is not a situation in which the government merely

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 1 refreshed a witness’s recollection as to when some event transpired far in the past. Mr.
 2 Klasky’s May 24, 2016 contemporaneous report to government agents and prosecutors at
 3 his first proffer meeting of the startling “Gun to the Head” Call as having transpired minutes
 4 or hours earlier that same morning, was not “subject to the usual risk of imprecision and
 5 distortion from the passage of time.” Miller–El v. Dretke, 545 U.S. 231, 241 n.1 (2005).
 6 The fact that the call could not have been received that morning—as the government now
 7 admits—discredits the story as a whole and should have raised fundamental concerns
 8 regarding Mr. Klasky’s credibility.
 9         Furthermore, after Mr. Klasky was pressed to change the date of the call, he also
10 changed the substance of the story so as to continue to implicate Mr. Omidi. During his
11 May 24 interview Mr. Klasky stated that he did not hear Mr. Omidi during the call with Mr.
12 Oxman but had seen Messrs. Oxman and Omidi leaving together shortly before the call.
13 (Ex. 2.) During his Grand Jury testimony he did not testify that he saw Messrs. Oxman and
14 Omidi together, but testified that he heard Mr. Omidi speaking in the background during
15 the call. (Ex. 12.) The government then invited Mr. Klasky to tell the same story at trial
16 (the first version—where Mr. Omidi is seen but not heard—without specifying the date) and
17 relied upon that story in arguing to the jury to convict during its final arguments.
18         These circumstances are similar to (but even more concerning than) those in Zumot
19 v. Borders, where a district court in the Northern District of California recently granted
20 habeas relief to a defendant based on a conclusion that the government’s presentation of
21 false evidence violated the defendant’s due process rights. 483 F. Supp. 3d 788, 818 (N.D.
22 Cal. 2020). At the trial in Zumot, the government elicited testimony that the defendant, who
23 was charged with murdering his girlfriend, had made a threatening phone call to the
24 deceased on a specific date prior to her death. The court concluded that this testimony
25 constituted “actually false” evidence under Mooney and Napue because phone records
26 “establish[ed] that there were no calls between [the defendant’s] and [the deceased’s]
27 phones on” that particular date. Id. at 815-16. Likewise here, Mr. Klasky’s phone records,
28 together with the Kelley Spreadsheet and the November 2016 TLOxp Reports, conclusively

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 1 establish that Mr. Klasky’s May 24, 2016 report that he received the “Gun to Your Head”
 2 Call from Mr. Oxman earlier that same morning was false. The government conceded as
 3 much in its recent opposition to Mr. Omidi’s Ex Parte Application for a Stay of the Deadline
 4 to File Post-Trial Motions. (ECF No. 1654.)
 5         Nevertheless, in that same opposition, the government falsely asserted that Mr.
 6 Klasky’s account of the “Gun to Your Head” Call “has been materially consistent.” (ECF
 7 No. 1654 at 3.) And, although the government has now finally conceded that Mr. Oxman
 8 did not call Mr. Klasky the day of his May 24, 2016 proffer interview, the government
 9 attempted to minimize Mr. Klasky’s false statement by vaguely stating that Mr. Klasky
10 stated the call occurred that morning “on other occasions.” (Id. at 1.) But this flippant
11 description ignores that Mr. Klasky’s report that the “Gun to Your Head” Call occurred on
12 the morning May 24 was made later that same morning. At his first proffer interview with
13 the government, Mr. Klasky was not trying to piece together a story from years earlier; he
14 was making a specific accusation about a shocking call he supposedly received minutes
15 or—at most—a couple hours earlier. As much as the government would like to portray Mr.
16 Klasky’s account as an ambiguous amalgam of multiple calls he received on various dates,
17 Mr. Klasky’s report was anything but ambiguous. Indeed, when the government met with
18 Mr. Klasky on August 14, 2017 and suggested to him that the call may have occurred on a
19 different date, he insisted, again, that the “‘gun to your head call’ was in the morning” of
20 May 24, 2016, “right before 10 am meet[ing].” (Ex. 11 at GT_REPORTS_00104958.)
21 Having finally acknowledged that this report was untrue, the government cannot simply
22 shrug off the details of that statement as irrelevant.
23         The government likewise cannot avoid the ramifications of Mr. Klasky’s false report
24 by pointing to his subsequent grand jury testimony that the “Gun to Your Head” Call
25 occurred on a different date, which was elicited after Mr. Klasky was confronted with the
26 falsity of his May 24, 2016 contemporaneous report. See United States v. Prokupek, 632
27 F.3d 460 (8th Cir. 2011) (reversing conviction for clear error because witness’s subsequent
28 testimony contradicting his contemporaneous “statement at the time of the events” is

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 1 “implausible on its face”) (quotations omitted); United States v. Streater, 70 F.3d 1314,
 2 1321 (D.C. Cir. 1995) (“We conclude that the district court clearly erred in crediting [the
 3 witness's subsequent] testimony ... when [the witness's prior] documented contemporaneous
 4 statements show the contrary.”).
 5         It is likewise irrelevant, for purposes of this analysis, that the government elicited Mr.
 6 Klasky’s trial testimony vaguely so as to avoid specifying the date on which the “Gun to
 7 Your Head” Call allegedly occurred. Even though the government knew that Mr. Klasky
 8 repeatedly made false statements to the government about the “Gun to Your Head” Call and
 9 that he changed his story during his grand jury testimony after he was confronted with the
10 falsity of his earlier statements, the government nevertheless asked Mr. Klasky to tell this
11 story to the jury at trial. By doing so, the government presented “actually false” testimony
12 in violation of Mooney and Napue. That the government asked Mr. Klasky, with calculated
13 imprecision, if he received a call from Mr. Oxman “before that meeting,” and allowed him
14 to tell a version that Mr. Klasky changed in the grand jury does not absolve the government
15 from presenting a story the government had investigated and knew to be false. (Tr. at
16 4974:24-25.) When the date had to change, so did the substance. The government’s
17 “solution” of allowing Mr. Klasky to testify to the discredited first version of the story but
18 without reference to the date suborned perjury. The government’s intentional avoidance of
19 the date by a carefully worded leading question only underscores the government’s
20 awareness that Mr. Klasky, if asked to provide more specific information about the “Gun to
21 Your Head” Call, would have disclosed the details which prove the story to be false.
22         It is extremely troubling that the government has refused repeatedly to disclose clear
23 evidence of this falsity, after withholding that evidence from the defense for years. Mr.
24 Omidi and the Court are entitled to obtain any and all additional documents and information
25 the government possesses regarding its investigation of Mr. Klasky’s initial claim.
26                2.     The Government Knew Mr. Klasky’s Testimony Was False
27         The government “knew or should have known” that Mr. Klasky’s testimony was
28 false. Sivak v. Hardison, 658 F.3d 898, 908 (9th Cir. 2011). The recently disclosed

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 1 November 2016 TLOxd Reports and Kelley Spreadsheet, emailed to the entire prosecution
 2 team on January 13, 2017, establish, quite clearly, that the government acted initially to
 3 verify Mr. Klasky’s May 24, 2016 report, and that the government concluded Mr. Klasky’s
 4 report was false. And as noted above, the government’s careful questioning of Mr. Klasky
 5 at trial—purposely avoiding any mention of the date on which Mr. Klasky claimed the “Gun
 6 to Your Head” Call took place but allowing him to testify as to the version of what took
 7 place on the morning of the first proffer interview—further confirms the government’s
 8 awareness of Mr. Klasky’s false claim. (Tr. at 4974:24-25.) This overwhelming evidence
 9 of the government’s awareness of the falsity of Mr. Klasky’s claim contrasts with its recent
10 attempt to paper over his past false statements and suggest, falsely, that Mr. Klasky’s
11 account was merely hazy or ambiguous, rather than false. Any further evidence of these
12 efforts is highly relevant to the government’s now-blasé approach to the veracity of Mr.
13 Klasky’s claim.
14                3.     Mr. Klasky’s False and Misleading Testimony Was Material
15         The standard for materiality under Mooney and Napue is whether “there is any
16 reasonable likelihood that the false testimony could have affected the judgment of the jury.”
17 Sivak, 658 F.3d at 912 (emphasis in original, quotations omitted). “By contrast, evidence
18 is not material if it is ‘unimaginable’ that the jury could have reached a different conclusion
19 ‘with or without’ the evidence at issue.” Zumot, 483 F. Supp. 3d at 813 (citing Phillips v.
20 Ornoski, 673 F.3d 1168, 1191 (9th Cir. 2012). This materiality standard is more favorable
21 to the defense than the standard for prejudice under Brady, and courts “have gone so far as
22 to say that if it is established that the government knowingly permitted the introduction of
23 false testimony reversal is virtually automatic.” Sivak, 658 F.3d at 912 (quotations omitted).
24 Mr. Klasky’s false statement regarding the “Gun to Your Head” Call clearly meets this
25 materiality standard.
26         Indeed, the government demonstrated the materiality of the “Gun to Your Head” Call
27 by relying on Mr. Klasky’s testimony regarding this call both in the government’s
28 summation and in its rebuttal argument. Hayes v. Brown, 399 F.3d 972, 986 (9th Cir. 2005)

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 1 (“The importance of [witness’] testimony was underscored by the prosecution in its closing
 2 argument.”); Zumot 483 F. Supp. 3d at 817 (concluding that the presentation of false
 3 evidence regarding a purported threatening phone call was material where the prosecutor
 4 relied on the allegations about the purported call during closing argument).
 5         The government first cited Mr. Klasky’s testimony about this issue to support the
 6 government’s argument that Mr. Omidi had the requisite intent and knowledge to be guilty
 7 of the charged crimes. After three months of trial, the government could not point the jury
 8 to any direct evidence of Mr. Omidi’s knowledge of the alleged fraud—no emails, text or
 9 chat messages, recorded conversations, or other statements by Mr. Omidi that evidenced
10 such knowledge. Instead, the prosecutor told the jurors that, “for intent and for knowledge,
11 too,” they should “look at circumstantial evidence,” including “the efforts that defendants
12 take to conceal what they do … in order to get in their head.” (Tr. at 8649:7-13.) As
13 evidence of these alleged concealment efforts, the prosecutor invoked Mr. Klasky’s account
14 of the “Gun to Your Head” Call, reminding the jurors, “you heard that Mr. Oxman told Mr.
15 Klasky – or pressured Mr. Klasky not to go to that meeting.” (Tr. at 8659:1-4.)
16         After Mr. Omidi’s counsel noted in his summation that the government could not
17 present any evidence of Mr. Omidi’s knowledge of the alleged fraud, the prosecutor
18 responded in her rebuttal by arguing that Mr. Omidi “made sure that the story of the fraud
19 didn’t get out.” (Tr. at 8926:23-24.) In support of this contention, the prosecutor relied even
20 more strongly on the “Gun to Your Head” Call and Mr. Klasky’s claim that he observed
21 Mr. Omidi and Mr. Oxman shortly before the call occurred. In fact, the prosecutor displayed
22 Mr. Klasky’s testimony on this topic for the jury and read it aloud, verbatim. (Tr. at
23 8926:23-8927:14.) Clearly, the government considered Mr. Klasky’s account of the “Gun
24 to Your Head” Call to be material, damning evidence. This testimony served as compelling
25 circumstantial evidence suggesting that Mr. Omidi was aware of the fraud committed by
26 Mr. Klasky, while also providing a plausible explanation for the dearth of direct evidence
27 of Mr. Omidi’s knowledge. See United States v. Meling, 47 F.3d 1546, 1557 (9th Cir. 1995)
28 (threat to a government witness “shows consciousness of guilt—second only to a confession

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 1 in terms of probative value”). The problem was that the government knew the story could
 2 not have taken place on the morning of the proffer interview as recounted.
 3         This assessment of the materiality of the “Gun to Your Head” Call is also consistent
 4 with the government’s insistence, after the testimony was elicited at trial, that Mr. Klasky’s
 5 testimony was “absolutely relevant with the pressure that is being placed on someone who
 6 could go to the government and reveal this fraud”, and “absolutely goes to the issues of
 7 knowledge and intent in this case and of the desire to continue concealing the fraud.” (Tr.
 8 at 4980.) “The [prosecutor’s] word about the ‘likely damage’ of the suppressed evidence is
 9 particularly strong evidence that the testimony was material.” Mellen v. Winn, 900 F.3d
10 1085, 1097 (9th Cir. 2018) (quotations omitted).
11         B.     Further Discovery Is Needed To Understand Whether The Government
                  Complied With Its Obligations To Investigate Mr. Klasky’s False Claim
12
           The Ninth Circuit has held that the government’s responsibility not to present false
13
     testimony, pursuant to Mooney and Napue, carries with it an obligation “to act when put on
14
     notice of the real possibility of false testimony.” N. Mariana Islands v. Bowie, 243 F.3d
15
     1109, 1118 (9th Cir. 2001). This “duty to investigate flows from the constitutional
16
     obligation of the [government] and its representatives to collect potentially exculpatory
17
     evidence, to prevent fraud upon the court, and to elicit the truth.” Morris v. Ylst, 447 F.3d
18
     735, 745 (9th Cir. 2006).
19
           As things currently stand, the evidence Mr. Omidi possesses establishes that the
20
     government violated its obligation to fully investigate the falsity of Mr. Klasky’s report,
21
     pursuant to Bowie. Instead, the government effectively abandoned its investigation of Mr.
22
     Klasky’s false May 24, 2016 report once he changed his story in front of the grand jury after
23
     being confronted with evidence of his initial false statement. By doing so, the government
24
     did exactly what Bowie prohibits—namely, “pressing ahead without a diligent and good
25
     faith attempt to resolve” the “real possibility of false testimony.” Bowie, 243 F.3d at 1118.
26
     The government cannot sidestep its obligation not to present false testimony by “refusing
27
     to search for the truth and remaining willfully ignorant of the facts,” especially after the
28

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 1 government discovered that Mr. Klasky’s claim at his May 24, 2016 proffer interview was
 2 false. Id. “This ploy allowed the prosecution [to avoid] having to risk further challenge and
 3 damage to the credibility of their own accomplice witness[].” Id. at 1121-22.
 4         In this respect, the government’s position that its belief as to the truth or falsity of Mr.
 5 Klasky’s claim in his May 24, 2016 proffer interview is not “relevant” is telling. It is plainly
 6 improper for the government to present not only evidence the government knows to be false,
 7 but evidence the government “has very strong reason to doubt.” United States v. Blueford,
 8 312 F.3d 962, 968 (9th Cir. 2002); United States v. Reyes, 577 F.3d 1069, 1077 (9th Cir.
 9 2009) (same). The prosecution’s treatment of Mr. Klasky’s May 24, 2016 false report as
10 irrelevant runs afoul of this basic precept of criminal law and of Mr. Omidi’s constitutional
11 rights. “The prosecution saw fit without prophylaxis to call to the stand [a] witness[] whom
12 it had clear reason to believe might... lie under oath.” Bowie, 243 F.3d at 1123.
13         If the government, indeed, possesses no further evidence whatsoever of any efforts
14 to investigate Mr. Klasky’s claim, its violation of Bowie will be clearly established. Of
15 course, at this time, the government refuses to specify whether or not any such materials
16 exist, instead only repeating that it does not possess any further “discoverable” evidence.
17         C.     Further Discovery Is Required to Understand the Extent of the
                  Government’s Brady Violation
18
                  1.     Failure to comply with the Brady Identification Order
19
           The government’s duty to disclose exculpatory evidence was heightened in this case
20
     because Mr. Omidi filed a motion to compel the government to specifically identify Brady
21
     material, including “any communications relevant to [Mr. Klasky’s] credibility and bias.”
22
     (ECF No. 1154.) The Court granted that motion over the government’s objection. (ECF
23
     No. 1333 (the “Brady Identification Order”).) Nevertheless, the government failed to
24
     identify as Brady material the subpoenaed phone records, the documentary basis for issuing
25
     the May 25, 2016 subpoena to Verizon for Mr. Klasky’s phone records, the subpoena itself,
26
     or the government’s investigative reports establishing that Mr. Klaksy provided a false
27
     report on May 24, 2016, (ECF No. 1333 at 4.) This is, of course, not to mention the
28

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 1 November 2016 TLOxd Reports and the Kelley Spreadsheet, which, as set forth below,
 2 were improperly withheld from the defense in violation of Brady. As set forth below, the
 3 government’s suggestion that Mr. Omidi’s counsel should have exposed Mr. Klasky’s false
 4 statement based on the information the government had disclosed is baseless; nevertheless,
 5 the government’s failure to identify this impeachment evidence among the more than one
 6 million documents it had produced violates the Brady Identification Order.
 7                  2.     Violation of Brady
 8          Brady requires the government to produce exculpatory evidence “whether or not the
 9 defendant requests any such evidence.” Milke v. Ryan, 711 F.3d 998, 1003 (9th Cir. 2013).
10 There are three components of a Brady violation: “(1) the evidence at issue must be
11 favorable to the accused, (2) the evidence must have been suppressed by the State, and (3)
12 the suppression must have been prejudicial.” Comstock v. Humphries, 786 F.3d 701, 708
13 (9th Cir. 2015). The government’s established failure to disclose the materials it produced
14 on January 24, 2022 already satisfies each of these three factors and constitutes a violation
15 of both the general Brady requirement and the Court’s directive in the Brady Identification
16 Order. However, the extent of the government’s violation remains unknown because the
17 government refuses to indicate whether it is continuing to withhold any additional relevant
18 materials.
19                         a.      The Government Withheld Favorable Evidence
20          “Any evidence that would tend to call the government’s case into doubt is favorable
21 for Brady purposes.” Milke, 711 F.3d at 1012. This includes impeachment evidence.
22 United States v. Bagley, 473 U.S. 667, 675 (1985). Mr. Klasky was the central prosecution
23 witness, and the government was required to disclose for use at trial the Kelley Spreadsheet
24 and November 2016 TLOxp Reports, which show unequivocally that Mr. Klasky’s May 24,
25 2016 report of the Call is false, and thereby impeach Mr. Klasky’s credibility and cast doubt
26 on the integrity of the government’s investigation as a whole. 3
27
     3
28     Mr. Klasky’s direct examination at trial ended with his testimony that he attended the May 24 proffer, in
     the face of the “Gun to Your Head” Call, because “[i]t was the right thing to do.” (Tr. at 4977:9.)
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 1         That a witness has made a false report must be disclosed under Brady. See, e.g.,
 2 United States v. Strifler, 851 F.2d 1197, 1202 (9th Cir. 1988) (evidence that witness
 3 previously had “l[ied] to authorities” must be disclosed under Brady); Andazola v.
 4 Woodford, 2011 WL 1225979, *7, *12 (N.D. Cal. Mar. 31, 2011) (granting habeas relief
 5 for the prosecution’s failure to disclose the police officer who testifed at defendant’s trial
 6 had filed false reports in other cases); United States v. Hall, 113 F.3d 157, 158-160 (9th Cir.
 7 1997) (“What most impeached [informant’s] credibility was his false report to the police.
 8 That crime, more than his crimes carrying higher penalties, suggested the possibility that he
 9 would lie to the police to frame an innocent man.”). By failing “to turn over to the defense
10 in discovery all material information casting a shadow on a government witness's
11 credibility,” the government failed to meet the Ninth Circuit’s expectation that “prosecutors
12 and investigators [] take all reasonable measures to safeguard the system against treachery.”
13 United States v. Bernal-Obeso, 989 F.2d 331, 334 (9th Cir.1993) (emphasis in original).
14         It makes no difference that Mr. Klasky’s testimony at trial may have been elicited
15 vaguely enough not to specify the date and time of the “Gun to Your Head” Call. As
16 explained above, the evidence the government recently disclosed is sufficient to show that
17 the government presented “actually false” testimony within the meaning of Napue. (See
18 supra Sec. III.A.) When the date changed, so too did the substance of Mr. Klasky’s
19 testimony. However, as to the Brady violation, whether Mr. Klasky’s trial testimony was
20 “actually false” is in any event irrelevant to the question of whether the recently disclosed
21 materials are favorable to Mr. Omidi. The materials impeach Mr. Klasky’s credibility, even
22 putting aside his trial testimony, because they unquestionably show that the story he told
23 the government on May 24, 2016—i.e., that he received a threatening call from Mr. Oxman
24 that same morning—was false. The fact that Mr. Klasky later altered his account based on
25 the government’s confrontation of him with the undisclosed evidence enhances, rather than
26 diminishes, the impeachment value of these materials.
27                       b.     The Government Suppressed The Withheld Evidence
28         The government unquestionably suppressed this favorable evidence. Brady and

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 1 Giglio dictate that impeachment evidence such as the Kelley Spreadsheet and the November
 2 2016 TLOxp Reports “must be disclosed unilaterally as a matter of constitutional right,”
 3 and the government did not disclose these materials until after trial. Milke, 711 F.3d at
 4 1006.
 5         Even after trial, the government continued to withhold favorable evidence and even
 6 denied its existence for weeks, before finally producing the materials in response to Mr.
 7 Omidi’s counsel’s third post-trial request. (See Ex. 1 (“There is no outstanding discovery
 8 on this issue.”); id. (“The government did not subsequently obtain the subscriber
 9 information for” the 310 Number or the 818 Number).)
10         In its recent submission in response to Mr. Omidi’s Ex Parte Application, the
11 government suggested that the materials it recently disclosed “exceeded its discovery
12 obligations.” This position is baseless, but it underscores precisely why the Court should
13 order further discovery. If the government considers these recently disclosed materials not
14 to be “discoverable”, neither Mr. Omidi nor the Court can be expected to accept at face
15 value the government’s assertion that it does not possess any additional discoverable
16 materials. Indeed, in granting a new trial based on a Brady violation, the Ninth Circuit
17 observed that if the government’s post-trial disclosure of exculpatory evidence “were in the
18 prosecutor's file and not produced, failure to disclose indicates the ‘tip of an iceberg’ of
19 evidence that should have been revealed under Brady.” United States v. Shaffer, 789 F.2d
20 682, 690-91 (9th Cir.1986).
21         Courts within this circuit have regularly ordered further discovery upon a showing
22 that the government suppressed Brady material, as is the case here. See United States v.
23 Blanco, 392 F.3d 382, 394 (9th Cir. 2004) (“Given the government's suppression of the
24 Brady/Giglio material pertaining to Rivera's immigration status, we believe that for
25 prophylactic reasons, the district court should order full disclosure by the government of
26 any and all potential Brady/Giglio material, whether or not related to Rivera's immigration
27 status.”) (quotations omitted); United States v. Bernal-Obeso, 989 F.2d 331, 333 (9th Cir.
28 1993) (“We believe the better course is to flush out the truth from behind the government's

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 1 veil and then determine what to do with it in the light of its implications, if any, with respect
 2 to [witness’s] credibility. Moreover, the government should be required under these
 3 circumstances, for prophylactic reasons at least, to demonstrate whether it discharged its
 4 obligation under Brady [], and Giglio to provide the defense with material exculpatory
 5 evidence within the government's possession, including evidence that could have been used
 6 to impeach the informant's credibility.”)
 7                       c.     The Government’s Suppression Prejudiced Mr. Omidi
 8         Finally, the government’s suppression of this evidence was prejudicial. Under Brady,
 9 “[e]vidence is material—and therefore requires reversal—when there is any reasonable
10 likelihood that it could have affected the judgment of the jury.” United States v. Obagi, 965
11 F.3d 993, 997 (9th Cir. 2020). A defendant therefore need only demonstrate the “possibility
12 of an acquittal” had the suppressed evidence been disclosed, not that an acquittal was
13 certain, or even that it was likely.” Kyles v. Whitley, 514 U.S. 419, 435 (1995). There is no
14 question that Mr. Omidi was prejudiced by the government’s failure to disclose evidence
15 that both contradicted Mr. Klasky’s account of the “Gun to Your Head” Call and
16 undermined Mr. Klasky’s credibility.            As the Ninth Circuit has repeatedly held,
17 “[i]mpeachment evidence is especially likely to be material when it impugns the testimony
18 of a witness who is critical to the prosecution’s case.” United States v. Price, 566 F.3d 900,
19 914 (9th Cir. 2009) (quotations omitted). Mr. Klasky indisputably was the prosecution’s
20 most critical witness, and the “Gun to Your Head” Call was a critical aspect of his testimony
21 and the government’s case.
22         The government suggested in its recent response to Mr. Omidi’s Ex Parte Application
23 that Mr. Omidi should have impeached Mr. Klasky at trial regarding the “purported
24 inconsistency” in his account of the threatening call, even without the benefit of the
25 government’s untimely post-trial disclosures. In so arguing, the government not only
26 ignores the Court’s order that the government specifically identify impeachment material
27 prior to trial (ECF No. 1333), but also conflates what it characterizes as merely an
28 “inconsistency” in Mr. Klasky’s statements—whether the call occurred on May 24 or May

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 1 23—with evidence that the government investigated Mr. Klasky’s initial claim and obtained
 2 confirmation that it was false. Even if the inconsistency the government claims Mr. Omidi’s
 3 counsel should have discovered was apparent from the existing discovery, the results of the
 4 government’s investigation was not. In addition, it is one thing to impeach Mr. Klasky with
 5 an inconsistency, but it would have been altogether different to impeach Mr. Klasky with
 6 the government’s undisclosed investigative report proving Mr. Klasky had provided a
 7 materially false report to the government on May 24, 2016. Benn v. Lambert, 283 F.3d
 8 1040, 1056–57 (9th Cir. 2002) (There is a substantial difference between “general evidence
 9 of untrustworthiness [with an inconsistency] and specific evidence that a witness has lied.”)
10         Without the evidence that the government set out to corroborate, but instead
11 contradicted, Mr. Klasky’s account of the call, Mr. Omidi and his counsel were deprived of
12 the opportunity not only to “impugn[] the testimony of a witness who is critical to the
13 prosecution’s case,” Price, 566 F.3d at 914 (quotations omitted), but also to call into
14 question the integrity of the government’s investigation. Put differently, Mr. Omidi’s
15 approach to the cross examination of Mr. Klasky and government agents would have been
16 very different had Mr. Omidi known, as he does now, that the government found evidence
17 contradicting Mr. Klasky’s report, confronted him with that evidence, and then accepted
18 Mr. Klasky at face value when he changed his account during his grand jury testimony.
19 Kyles v. Whitley, 514 U.S. 419, 420 (1995) (“Disclosure would therefore have raised
20 opportunities for the defense to attack the thoroughness and even the good faith of the
21 investigation, and would also have allowed the defense to question the probative value of
22 certain crucial physical evidence.”); Shelton v. Marshall, 796 F.3d 1075, 1089 (9th Cir.
23 2015) (casting “serious doubts about the good-faith of the prosecution as a whole” in light
24 of Brady errors and that the suppression stole the opportunity from the defense to
25 “diminish[] the State’s own credibility as a presenter of evidence”). For example, Mr.
26 Omidi would have raised these issues in the cross examination of FDA Special Agent
27 Samantha Kelley, who created the recently disclosed spreadsheet confirming the falsity of
28 Mr. Klasky’s May 24, 2016 accusation, as well as other agents who received the evidence

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 1 that Mr. Klasky’s story could not have occurred as represented (including FDA Special
 2 Agent Zeva Pettigrew), to “attack[] the reliability of the investigation . . . in tolerating (if
 3 not countenancing) serious possibilities that incriminating evidence had been planted.”
 4 Kyles, 514 U.S. at 446. In light of the suppression of the very information necessary to
 5 impeach Mr. Klasky, the government’s suggestion that Mr. Omidi’s counsel “strategically”
 6 chose not to impeach Mr. Klasky on this issue is baseless.
 7         Mr. Omidi unquestionably suffered prejudice due to this suppression, and any further
 8 evidence of the government’s failure to disclose will only enhance that prejudice.
 9         D.     Further Discovery Is Required Under Jencks
10         Mr. Omidi requests the Court to order the government to disclose all material related
11 to Mr. Klasky’s credibility under the Jencks act, from FDA Special Agent Zeva Pettigrew,
12 who testified as a government witness at trial regarding Mr. Klasky and his credibility.
13 United States v. Brumel-Alvarez, 991 F.2d 1452, 1464 (9th Cir. 1992) (“The prosecution is
14 obligated to disclose to the defense statements falling within the Jencks Act regardless of
15 anyone's perception of the utility of the statements for impeachment. Moreover, it is
16 sufficient that, [i]n determining whether the statements in question ‘related to’ the direct
17 testimony of the witness, it must relate generally to the events and activities testified to.”)
18 (citations and internal quotations omitted, emphasis in original).
19         E.     Further Discovery Is Relevant to the Proper Remedy
20         In his post-trial motion, Mr. Omidi intends to request a new trial, the basis for which
21 is clearly established as set forth above. Mr. Omidi also intends to request that the Court
22 exercise its supervisory powers to dismiss the indictment. The Court should not be deprived
23 of the full extent and context of the government’s conduct with respect to this matter before
24 determining whether to exercise that authority.
25         The Court may dismiss an indictment under its supervisory powers if the government
26 has engaged in “flagrant” misconduct or has acted with “reckless disregard” for its
27 constitutional obligations. United States v. Chapman, 524 F.3d 1073, 1085 (9th Cir. 2008).
28 To the extent the government is continuing to withhold further relevant discovery regarding

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 1 its investigation of Mr. Klasky’s report and his credibility, both the withheld evidence and
 2 the mere fact that the government is, once again, suppressing evidence, would be highly
 3 relevant to Mr. Omidi’s request and to the Court’s determination of the appropriate remedy.
 4 IV.      THE COURT SHOULD ORDER AN EVIDENTIARY HEARING
 5          Regardless of whether the government’s misconduct ultimately proves limited to Mr.
 6 Klasky’s testimony regarding the “Gun to Your Head” Call, Mr. Omidi should be afforded
 7 an evidentiary hearing so that the Government answers under oath as to its knowledge of
 8 the falsity of Mr. Klasky’s testimony and the reasons for its failures to disclose impeaching
 9 information as to this testimony and Mr. Klasky’s credibility as a whole. Schell v. Witek,
10 218 F.3d 1017, 1027 (9th Cir. 2000) (“Evidentiary hearings are particularly appropriate
11 when claims raise facts that occurred out of the courtroom and off the record.”); United
12 States v. Mazzarella, 784 F.3d 532, 539, 542 (9th Cir. 2015) (vacating the district court’s
13 denial of motions for a new trial and remanding for discovery and an evidentiary hearing on
14 the Brady issue “on an open record”); United States v. Alvarez, 358 F.3d 1194, 1209 (9th
15 Cir. 2004) (“In United States v. Bernal–Obeso, 989 F.2d 331 (9th Cir.1993), the court stated
16 that ‘[b]ecause neither we nor the trial court know what it is we are attempting to review ...
17 [t]he appropriate step is to vacate the defendant's conviction and remand to the district court
18 for an evidentiary hearing’ to determine whether the government had discharged its
19 obligation to provide the defense with material exculpatory evidence, including
20 impeachment evidence, within its possession regarding a confidential informant/witness.”).
21          The Government’s claim that its belief in the truth or the falsity of Mr. Klasky’s
22 testimony is “irrelevant” is untenable under clearly established law. The basic integrity of
23 this case requires that all of the facts receive the full light of discovery and a hearing.
24 V.       CONCLUSION
25          Based on the foregoing, Mr. Omidi respectfully requests that the Court compel the
26 government to search for and produce all documents and information it possesses relating
27 to Mr. Klasky’s allegations concerning the “Gun to Your Head” Call and the government’s
28 investigation thereof or, at the very least, compel the government to identify in a log any

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1 and all such documents it is continuing to withhold and the government’s basis for doing
2 so. Mr. Omidi also requests that the Court hold an evidentiary hearing regarding this matter
3 and order the government to preserve and not destroy all of its communications, notes of
4 interview, and other memoranda regarding Mr. Klasky.
5
6
                                            Respectfully submitted,
7 Dated: February 22, 2022
8
                                            WILLKIE FARR & GALLAGHER LLP
9
10                                          By: s/ Michael S. Schachter
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 1                                      PROOF OF SERVICE
 2        I am employed and a resident of New York. I am over the age of 18 and not a party
 3 to the within action; my business address is 787 Seventh Avenue, New York, NY 10019.
 4 On February 22, 2021, I served the document described as:
 5 DEFENDANTS JULIAN OMIDI’S MOTION TO COMPEL DISCOVERY AND TO
 6 HOLD EVIDENTIARY HEARING
 7        Upon the interested parties in this action as follows:
 8              X     By the Court’s ECF.
 9        I declare that I am employed in the office of a member of the bar of this Court at
10 whose direction the service was made.
11        Executed on February 22, 2021.
12
13                                          s/ Michael S. Schachter
14                                          Michael S. Schachter

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